     Case 2:10-cv-00579-WKW-CSC Document 78 Filed 05/18/21 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

  RICHARD FLOWERS,                           )
  ADOC # 0000Z632,                           )
                                             )
              Petitioner,                    )
                                             )
       v.                                    )   CASE NO. 2:10-CV-579-WKW
                                             )             [WO]
 JEFFERSON S. DUNN,                          )
 Commissioner, Alabama Department            )
 of Corrections,                             )
                                             )
              Respondent.                    )

                        ORDER VACATING SENTENCE

      By Memorandum Opinion and Order of January 13, 2021, this court found

that Petitioner, Richard Flowers, was “entitled to a new penalty phase trial,” granted

Mr. Flowers a writ of habeas corpus to that extent, and directed the parties to confer

regarding the possibility of reaching “an agreement as to the resolution of all issues

in this action . . . .” (Doc. # 72 at 64.) In accordance with this order, the parties

conferred, advised the court that they have reached an agreement to settle this matter,

and agreed that this case should be remanded to the Circuit Court of Montgomery

County, Alabama, for the purpose of resentencing at which the parties will request

that Mr. Flowers be resentenced to life without the possibility of parole. (Doc. # 76.)

      Pursuant to the parties’ Joint Stipulation (Doc. # 76), Mr. Flowers has agreed

to waive his right to a jury for the sentencing hearing conditioned upon the
        Case 2:10-cv-00579-WKW-CSC Document 78 Filed 05/18/21 Page 2 of 3




Montgomery County Circuit Court accepting the State’s motion to sentence him to

life without the possibility of parole (“LWOP”). If resentenced to LWOP, Mr.

Flowers has agreed to waive further appeals or collateral challenges to his conviction

and sentence in CC-97-20. The parties stipulate that the habeas case, including all

pending claims, should be dismissed if a sentence of LWOP is imposed. The parties

further stipulate that Mr. Flowers will not appeal this court’s ruling denying him

relief on his claim of ineffective assistance of counsel during the guilt phase of his

trial and that Respondent will not appeal this court’s ruling granting a new

sentencing hearing to Mr. Flowers.

         In accordance with the parties’ Joint Stipulation (Doc. # 76), it is ORDERED

that:

         1.    Petitioner Richard Flowers’s original death sentence imposed by the

Circuit Court of Montgomery County, Alabama, on March 9, 1998, is VACATED

pursuant to 28 U.S.C. § 2254.

         2.    This case is REMANDED to the Circuit Court of Montgomery County,

Alabama, for the purpose of conducting a new sentencing hearing before that court

in accordance with Alabama law.

         3.    Within fourteen (14) days of the entry of this order, Respondent’s

counsel for the State shall file a notice with the Montgomery County Circuit Court

in State v. Flowers, CC-97-20, affirmatively stating that the State is no longer

                                           2
     Case 2:10-cv-00579-WKW-CSC Document 78 Filed 05/18/21 Page 3 of 3




seeking a death sentence and that it will be moving the court to resentence Mr.

Flowers to LWOP for the murder of Annie Addy.

      4.     This federal habeas action is STAYED pending Mr. Flowers’s

resentencing hearing in the Montgomery County Circuit Court in State v. Flowers,

CC-97-20.

      5.     The parties shall file a Notice in this action within seven (7) days of Mr.

Flowers’s resentencing and, if appropriate, shall move for dismissal of the remaining

claims in this action.

      DONE this 18th day of May, 2021.

                                                     /s/ W. Keith Watkins
                                               UNITED STATES DISTRICT JUDGE




                                           3
